
663 S.E.2d 856 (2008)
STATE of North Carolina
v.
Santiago RODRIQUEZ.
No. 36P05-3.
Supreme Court of North Carolina.
June 11, 2008.
Santiago Rodriquez, Pro Se.
*857 Anne M. Middleton, Assistant Attorney General, Robert F. Johnson, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 10th day of April 2008 in this matter for a writ of certiorari to review the order of the Superior Court, Alamance County, the following order was entered and is hereby certified to the Superior Court of that County:
"Dismissed by order of the Court in conference, this the 11th day of June 2008."
